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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                          )
IN RE APPLICATION OF USA PURSUANT         )                  ML No: 1:22-ml-00473
TO 18 U.S.C. § 3512 FOR ORDER FOR         )
COMMISSIONER’S APPOINTMENT FOR            )
FRAUD INVESTIGATION                       )
__________________________________________)

Reference:     DOJ Ref. # CRM-182-80748

                                             ORDER

       Upon application of the United States seeking an order, pursuant to 18 U.S.C. § 3512,

appointing Erica Laster, Trial Attorney, Office of International Affairs, Criminal Division, U.S.

Department of Justice (or a substitute or successor subsequently designated by the Office of

International Affairs), as a commissioner to execute the above-captioned request from Portugal

(the Request) to collect evidence for use in a criminal investigation, prosecution, or proceeding

in Portugal, and any subsequent, supplemental requests, and the Court having fully considered

this matter,

       IT IS THEREFORE ORDERED, pursuant to the authority conferred by 18 U.S.C. §

3512, that Erica Laster (or a substitute or successor designated by the Office of International

Affairs) is appointed as a commissioner of this Court (the commissioner) and is directed to

execute the Request and any subsequent, supplemental requests made by Portugal in connection

with the above-captioned investigation and prosecution and to take such steps as are necessary to

collect the evidence requested in this or any subsequent, supplemental requests in connection

with the same criminal matter. In doing so, the commissioner:

       1.      may issue commissioner’s subpoenas to be served at any place within the United

States on persons (natural and legal) ordering them or their representatives to appear and to
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testify and/or produce evidence located within the United States;

       2.      shall adopt procedures to collect the evidence requested consistent with its use in

the investigation, prosecution, or proceeding in Portugal for which the Office of the Attorney

General for the District of Northern Lisbon has requested assistance, which may be specified in

the Request or subsequent requests in this matter or provided by, or with the approval of, the

Prosecutor General’s Office;

       3.      may, in collecting the evidence requested, be assisted by persons whose presence

or participation is authorized by the commissioner, including, without limitation, individuals

employed by U.S. law enforcement agencies and/or representatives of Portugal who, as

authorized or directed by the commissioner, may direct questions to any witness;

       4.      may seek such further orders of this Court as may be necessary to execute this

Request, or subsequent requests in this matter including orders to show cause why persons



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served with commissioner’s subpoenas who fail to appear and/or produce evidence should not be

held in contempt; and




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       5.      shall transmit the evidence collected to Portugal.



Date: ____________                           ____________________________________



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                                             UNITED STATES MAGISTRATE JUDGE
